Case 2:16-cv-02229-SHL-tmp Document 219 Filed 07/02/18 Page 1 of 1              PageID 3337




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

                                               )
  AVERY OUTDOORS, LLC,
                                               )
  f/k/a BANDED FINANCE, LLC,
                                               )
         Plaintiff,                            )
                                               )
  v.                                           )
  PEAK ROCK CAPITAL, LLC, and                  )
  OUTDOORS ACQUISITION CO., LLC,               )
                                               )
         Defendants,                           )
                                               )          No. 2:16-cv-02229-SHL-tmp
  and
                                               )
  OUTDOORS ACQUISITION CO., LLC,               )
                                               )
         Third-Party Plaintiff/Counter-        )
         Claimant,
                                               )
  v.                                           )
                                               )
  AO LIQUIDATION TRUST, INC.,                  )
  f/k/a AVERY OUTDOORS, INC.,
                                               )
         Third-Party Defendant.                )


                                          JUDGMENT


 JUDGMENT BY COURT. This action having come before the Court on Defendant Outdoors
 Acquisition Co., LLC’s Notice of Removal (ECF No. 1), filed April 8, 2016,

 IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that, in accordance with the
 Order Remanding to Shelby County Chancery Court (ECF No. 218), filed July 2, 2018, the case
 is DISMISSED WITH PREJUDICE for lack of subject matter jurisdiction and REMANDED
 to the Chancery Court pursuant to 28 U.S.C. §§ 1447(c).

 APPROVED:

 s/ Sheryl H. Lipman
 SHERYL H. LIPMAN
 UNITED STATES DISTRICT JUDGE

 July 2, 2018
 Date
